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                                           ID#: 1662



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

 UNITED STATES OF AMERICA                       )
                                                )
          Plaintiff,                            )   Criminal No: 6:11-cr-54-GFVT-HAI-5
                                                )
 V.                                             )
                                                )
 TREVOR COLE SPARKS,                            )                   ORDER
                                                )
          Defendant.                            )
                                                )

                                       ***   ***    ***   ***

          This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram. [R. 566.] Defendant Trevor Cole Sparks is charged with

five violations of the terms of his supervised release, as set forth in the United States Probation

Office’s Supervised Release Violation Reports of November 16, 2015, and January 5, 2016.

These Reports indicate that Mr. Sparks failed to properly communicate with his Probation

Officer, failed to report his change in employment, and stopped participating in the substance

abuse treatment program in which he was enrolled. Further, Mr. Sparks admitted the use of

oxycodone, which constitutes the federal crime of possessing oxycodone. See 21 U.S.C. §

841(a).

          On January 14, 2016, Judge Ingram conducted a final hearing on the alleged violations,

and Mr. Sparks knowingly and voluntarily stipulated to all five violations. Judge Ingram then

issued his Recommended Disposition, wherein he recommends revocation of Sparks’ supervised

release with a term of imprisonment of nine months, followed by a term of supervised release of

twenty-four months with certain added conditions. Judge Ingram advised that Sparks’ right to
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allocution under Rule 32.1 was preserved, as reflected in the record, and directed the parties to

28 U.S.C. § 636(b)(1) for their appeal and objection rights. On January 25, 2016, Mr. Sparks

filed a Waiver of Allocution, waiving his right to appear before, make a statement, and/or present

information in mitigation to the undersigned before issuance of a final decision. [R. 567.]

       Generally, this Court must make a de novo determination of those portions of a

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, however, this Court is not required to “review . . . a magistrate’s factual or

legal conclusions, under a de novo or any other standard . . . .” Thomas v. Arn, 474 U.S. 140,

150 (1985). Parties who fail to object to a Magistrate’s recommendation are also barred from

appealing a District Court’s order adopting that recommendation. United States v. Walters, 638

F.2d 947 (6th Cir. 1981). Nevertheless, this Court has examined the record, and it agrees with

the Magistrate Judge’s Recommended Disposition, which appropriately considers the § 3553

factors and the Defendant’s need for significant help in managing his drug addiction.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      Defendant Trevor Cole Sparks has WAIVED his right to allocution [R. 567];

       2.      Sparks is FOUND to have violated the terms of his supervised release as set

forth in the Recommended Disposition, and the Recommended Disposition [R. 566] is

ADOPTED as and for the Opinion of the Court;

       3.      Sparks’ term of supervised release is REVOKED and Sparks is SENTENCED to

a term of imprisonment of nine months, with a term of supervised release of twenty-four months

to follow;

       4.      Sparks’ supervised release shall be under the conditions previously imposed at R.



                                                 2
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365, with the added condition that Sparks enroll in, and complete, a three month inpatient

substance abuse treatment program as directed by the United States Probation Office

immediately upon his release from prison; and

       5.      The United States Probation Office shall inform the Court upon Sparks’

completion of the inpatient substance abuse treatment program so the Court may set a status

conference.

       This the 10th day of February, 2016.




                                                3
